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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



  KIRA WAHLSTROM,

          Plaintiff,

  v.

  DAVID J. HOEY, LAW OFFICES OF                                 No. 1:22-cv-10792-RGS
  DAVID J. HOEY, P.C., DON C. KEENAN,
  AND D.C. KEENAN & ASSOCIATES,
  P.C. D/B/A THE KEENAN LAW FIRM,
  P.C.

          Defendants.



       NOTICE OF WITHDRAWAL OF APPEARANCE OF THOMAS A. MURPHY

        I, Thomas A. Murphy, of the law firm of Wilson, Elser, Moskowitz, Edelman & Dicker

LLP, hereby withdraw my appearance for Defendants David J. Hoey and Law Offices of David

J. Hoey, P.C., in the above-captioned matter.

                                                Respectfully submitted,

                                                DEFENDANTS DAVID J. HOEY AND LAW OFFICES OF
                                                DAVID J. HOEY, P.C.,

                                                By their Attorneys,


Dated: December 14, 2022                         /s/ Thomas A. Murphy
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                                CERTIFICATE OF SERVICE

        I, Thomas A. Murphy, hereby certify that, on December 14, 2022, the foregoing
document was filed through the ECF system, the document will be sent electronically to the
registered participants, and paper copies will be served via first class mail on those indicated as
non-registered participants.


                                             /s/ Thomas A. Murphy
                                             Thomas A. Murphy




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